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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           NEW ALBANY DIVISION


 UNITED STATES OF AMERICA,                     )
                                               )
                   Plaintiff,                  )
                                               )
       v.                                      ) CASE NO. 4:07-cr-07-03-DFH-WGH
                                               )
 DAVID DIAZ-GAUDARAMA,                         )
                                               )
                   Defendant.                  )


                    ENTRY ON DEFENDANT’S MOTION FOR
                      FURTHER COMPETENCY HEARING


       Defendant David Diaz-Gaudarama is scheduled for trial on drug conspiracy

 charges on June 8, 2009. He has filed a renewed motion for further evaluation

 of his competency to stand trial pursuant to 18 U.S.C. § 4241(a).



       From the outset of this case, defendant David Diaz-Gaudarama has

 presented mental health issues. On July 13, 2007, he moved for a competency

 evaluation, which the court ordered.    The first evaluation indicated that the

 defendant was not competent to stand trial. On August 14, 2007, the court

 ordered the defendant to the custody of the Attorney General for purposes of

 treatment attempts to restore him to competency under 18 U.S.C. § 4241(d).



       The defendant spent several months under close observation by mental

 health professionals at FMC Butner, and that staff provided a detailed report to
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 the court in January 2008. The report showed convincingly that the defendant

 has been malingering. He has been engaging deliberately in exaggerated behavior

 to fake symptoms of psychosis. See Dkt. Nos. 100 & 101 (under seal). The

 defendant then asked for appointment of a defense expert to evaluate his

 condition. Dr. Irfan Afaq was appointed and submitted a report indicating that

 the defendant was not competent. See Dkt. No. 120. The court held a hearing on

 April 25, 2008 and found that the defendant was competent to stand trial.



       The defendant objected to that finding on the ground that the court

 improperly relied on hearsay in the form of the Butner report without giving the

 defense an opportunity to cross-examine the person offering the opinion. The

 defendant also filed a notice of an insanity defense. The court held a further

 evidentiary hearing on competency on May 29, 2008. With Dr. Cheltenham of the

 BOP present and on the witness stand, the Butner report was admitted into

 evidence without objection. The court again found the defendant competent to

 stand trial. In light of the insanity defense, the court ordered further psychiatric

 evaluations and postponed the trial again. The defendant was returned to the

 Attorney General’s custody for several months for purposes of further evaluation.

 That evaluation resulted in a further diagnosis of malingering.



       After the defendant was returned to the Marshal’s custody in Indiana, the

 defense expert, Dr. Afaq, saw him again at the Floyd County Jail on December 29,

 2008 and January 22, 2009. See Dkt. No. 221. Dr. Afaq reported that the


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 defendant continued to exhibit the same types of behaviors that he had exhibited

 earlier. Dr. Afaq concluded that the defendant was still not competent to stand

 trial. Dr. Afaq’s report suggested that he was unable to determine if the defendant

 was malingering, though he certainly did not observe evidence of malingering.



       The court considered this issue in some depth in the spring of 2008. The

 court has before it persuasive evidence that defendant David Diaz-Gaudarama is

 competent to stand trial and that he believes, to put it bluntly, that if he pretends

 to act crazy, the government will have to drop the charges and let him go. He has

 shown the ability to maintain this act for days and even weeks at a time, but he

 did not manage to keep it up during the much longer evaluation at Butner. The

 compelling evidence of malingering emerged from the observations there.



       Under 18 U.S.C. § 4241(a), a motion for a hearing to determine the

 defendant’s competency may be filed at any time after the prosecution begins and

 before sentencing. The statute further provides:


       The court shall grant the motion, or shall order such a hearing on its own
       motion, if there is reasonable cause to believe that the defendant may
       presently be suffering from a mental disease or defect rendering him
       mentally incompetent to the extent that he is unable to understand the
       nature and consequences of the proceedings against him or to assist
       properly in his defense.


 Id.




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       The ability to reconsider the issue of competency “at any time” does not

 mean that the court must hold a hearing any time the defense asks for one.

 Especially where the court has already considered the issue in depth, it is not

 necessary to hold another hearing unless the defense comes forward with

 genuinely new evidence indicating a need for another hearing. See United States v.

 Andrews, 469 F.3d 1113, 1121 (7th Cir. 2006) (affirming denial of motion seeking

 second competency hearing); United States v. Voice, 627 F.2d 138, 141 (8th Cir.

 1980) (district court did not abuse discretion in declining to hold second

 competency hearing), citing United States v. Cook, 418 F.2d 321, 324 (9th Cir.

 1969) (same); see generally United States v. Metcalfe, 698 F.2d 877, 880-82 (7th

 Cir. 1983) (affirming district court’s denial of motion for psychiatric evaluation

 made on the eve of trial; court may and should consider all available evidence in

 determining whether there is reasonable cause to believe the defendant might not

 be competent to stand trial).



       Where a defendant is genuinely mentally ill, of course, his mental status

 and competency could change with the passage of time. For example, in United

 States v. Ives, 574 F.2d 1002 (9th Cir. 1978), the court had received four

 alternating determinations of competency and incompetency in less than a year.

 The Ninth Circuit held that the trial court’s refusal to hold a further hearing was

 an abuse of discretion when the defendant came forward five months later with

 new evidence that the court refused to consider. 574 F.2d at 1005-06 & n.4.




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       The court views this case very differently because the issue here is not the

 severity or progression of a genuine illness but whether the defendant’s psychotic

 behavior is all a deliberate act. See United States v. Wilbourn, 336 F.3d 558, 560

 (7th Cir. 2003) (affirming denial of second competency evaluation where court had

 found the defendant had been malingering: “In short it was not an abuse of

 discretion for the court to deny Wilbourn’s request for a second evaluation when

 the sole basis for that request was the fact that he continued to demonstrate

 behavior that the court had already found to be malingering.”), citing United

 States v. Prince, 938 F.2d 1092, 1095 (10th Cir. 1991).



       In this case, the defendant has shown the ability to maintain his psychotic

 act for days and even weeks at a time. The fact that he continued to exhibit this

 behavior for a few hours with Dr. Afaq does nothing to call into question the

 court’s earlier findings based on the Butner observations. The fact that Dr. Afaq

 did not rule out the possibility of malingering after the longer-term Butner

 observations confirmed malingering adds to the court’s confidence that the latest

 observations do not provide “reasonable cause” to believe the defendant might now

 be incompetent to stand trial. The defendant’s malingering has already delayed

 this case for more than a year. The court sees no grounds for a new hearing on

 competency, and the renewed motion is denied.



       So ordered.

 Date: March 13, 2009


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                                            DAVID F. HAMILTON, CHIEF JUDGE
                                            United States District Court
                                            Southern District of Indiana

 Copies to:

 Matthew P. Brookman
 UNITED STATES ATTORNEY’S OFFICE - EV
 Matthew.Brookman@usdoj.gov

 Larry D. Simon
 805 Bank of Louisville
 510 West Broadway
 Louisville, KY 40202




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